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On 4/6/2022, |, Detective Joy Moss #17115, of the El Paso County Sheriff's Office (EPSO), conducted
follow-up in reference to this case.

WITNESS INTERVIEW

At approximately 0900 hours, | was at 8034 Edgerton Drive USAF Academy, Colorado 80840. This is the
building for the OSI Detachment 439. SA Brandt and | conducted an interview with a witness in this case,
Kenneth Calhoun (DOB: EEE). | later placed a copy of the interview into EPSO Evidence under
item # 14. The following is a summary of what was said.

Mr. Calhoun was an MEFLC (Military Family Life Counselor) currently employed at USAFA. Due to his
credential status as a contractor, Mr. Calhoun was not violating any patient confidentiality agreements
regarding a criminal investigation. Mr. Calhoun stated he had met with Zia approximately 3 times. They
did not take notes of the meetings, as was standard procedure. He did recall her talking about her
relationship with Jose and how toxic it was. Mr. Calhoun recalled her talking about how she loved Jose
and hated him, and all men were only after one thing, which Mr. Calhoun interpreted as meaning sex.
Mr. Calhoun also inferred something bad had happened between the two but was never told of any
sexual assault. Mr. Calhoun also met with Jose several times, but only recalled their conversations being
about how he was in love with Zia.

SUSPECT INTERVIEW

At approximately 1030 hours, SA Brandt and | conducted an interview with Jose Galiano in room 2A20
of Sijan Hall, located on the United States Air Force Academy. Sijan Hall is a dormitory hall for cadets
who attend the Air Force Academy and is accessible for all cadets. | later placed a copy of the interview
into EPSO Evidence under item # 15. The following is a summary of what was said.

Upon entering the room, we introduced ourselves and our law enforcement agencies. | thanked Jose for
coming in for the interview and told him that he was free to leave at any time and to not answer any of
my questions. | told Jose to also let me know if there was anything he did not understand, as English is
his secondary language. Jose stated he understood. The duration of the interview was approximately 2
hours and 30 minutes, with a bathroom break. Miranda was not advised, as this was a non-custodial
interview.

The interview began with information about Jose and how he eventually was accepted into USAFA. Jose
stated he began learning English as tested for a spot at the Academy. Upon arriving for Basic Training,
Jose stated he knew basic conversational English and could tell when someone was yelling at him but
was still learning.

Jose began to cry as he explained the first time he met Zia. They were in a marching formation, and he
was having a hard time following the cadence. He asked the person behind him to help him with the
commands, and it was Zia. After that, Zia continued to help him learn English and he became very
proficient. Jose did not want to talk about when he first started dating Zia.

| then explained to Jose what | was aware of with their relationship, to include the incident under
investigation and their breakup. | also explained how | was aware he told his roommate about what
occurred, and the other people involved. Jose did not want to talk about anything specifically. | then
asked what Jose would want to say to Zia if he could. Jose again began to cry and stated he just wanted

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her to be happy and he prayed for her every day. Jose later admitted he prayed for her forgiveness and
his own forgiveness as well.

Jose eventually stated he did remember the night of the incident. Jose was reluctant to say anything
that might be used against him, but stated ultimately, he wanted to help Zia move on and would do
anything he could to help with that. After some time, Jose admitted he did hear Zia say “stop,” after
they had begun having sex. SA Brandt then asked Jose what happened after he heard her say that. Jose
did not give a direct answer at first, but eventually stated he continued to have sex with Zia after he
heard her say stop. Jose was very remorseful and stated he did not go into that night intending to hurt
Zia in any way. Jose believed the reason why it happened at all was because he was comparing the
situation to previous relationships he had with other women and the desire for the male to dominate.
Jose was concerned his reasons would be interpreted incorrectly due to the language barrier. Jose
repeatedly wanted to know that his admission to what occurred would help Zia move forward and |
assured him Zia would be told what he said and it would help with closure.

| sent the interview in to be transcribed as well.
ARREST WARRANT

At approximately 1430 hours, | arrived at 270 South Tejon Street Colorado Springs, Colorado 80903. This
is the address for the El Paso County Combined Courthouse. | presented the Honorable Judge C. McKedy
with an arrest warrant for:

Jose Galiano, DOB 03/13/2000, ~5'8", ~170 Ibs., Hispanic Male, Brown hair, Brown eyes, SSN:
XXX-XX-XXXX

in violation of the following Colorado Revised Statutes within the County of El Paso and State of
Colorado:

18-6-800.3. Domestic Violence Definitions (enhancer); 18-3-402. Sexual assault (1)(a), F4; 18-
3-404. Unlawful sexual contact (1)(a), M1

At approximately 1511 hours, the Honorable Judge C. McKedy found probable cause existed for the
execution of the arrest warrant.

| then filed the warrant with the Clerk of Courts under Case/File # 22CR1889.
A copy of the warrant is attached to this report.
ARREST

At approximately 1600 hours, Deputy David Fisher and | arrived at 8034 Edgerton Drive USAF Academy,
Colorado 80840. This is the building for the OSI Detachment 439. SA Brandt had previously contacted
Jose Galiano and his chain of command to come to the building.

At 1623 hours, Deputy Fisher placed Jose Galiano under arrest. | informed Jose of his charges. Jose was
then transported and booked into the El Paso County Criminal Justice Center (CJC).

| have nothing further.

Case status: CBA

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